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​      ​       ​       ​      ​        ​        ​      ​      ​      Barry Coburn
​      ​       ​       ​      ​        ​        ​      ​      ​      Admitted DC, MD, VA, NY
​      ​       ​       ​      ​        ​        ​      ​      ​      202-643-9472
​      ​       ​       ​      ​        ​        ​      ​      ​      barry@coburngreenbaum.com

                                           April 18, 2025
VIA ECF
The Honorable Sidney H. Stein
United States District Judge
United States District Court for the
 Southern District of New York
500 Pearl Street
New York, NY 10007

​      Re:​    United States v. Nadine Menendez, (S4) 23-cr-490 (SHS)

Dear Judge Stein:

​       I am writing to Your Honor to follow up on our colloquy with the Court this morning,
relating to the fact that our jury will commence deliberations on Friday afternoon.

​       As the Court knows, actual and potential jurors repeatedly have registered concern
about the length of this trial. According to my recollection, on one occasion, when the Court
talked with the jurors about the need for an adjournment of trial, at least one of the jurors
appeared upset, noting something to the effect of, “You know, we have lives.”

​       Given these circumstances, and given the length of trial and that the case will be
going to the jury on Friday afternoon, in order to ensure that no juror feels any coercion, we
respectfully request the brief supplemental instruction below:

               Ladies and gentlemen, you are commencing your deliberations on Friday
               afternoon. This has been a long trial, and all the participants know that this
               has entailed substantial sacrifice by the jurors. Accordingly, I emphasize to
               you that your deliberations must be conscientious, that no juror should
               surrender her or his own views unless persuaded to do so, and that no juror
               should feel any pressure of any kind to reach a verdict before the coming
               weekend. The Court and the parties will remain today for as long as the jury
               wishes to deliberate, but the jury should feel no time pressure about reaching a
               verdict today, as opposed to deciding to return on Monday to continue
               deliberations.
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​    In addition, I believe I am required to renew my Rule 29 motion prior to the jury
commencing deliberations. I respectfully do so.

Respectfully submitted,




Barry Coburn
